                    Case 2:09-cr-00096-JAM Document 174 Filed 09/09/15 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
                JOSEPH SILVA
                      (Defendant’s Name)                                  Criminal Number: 2:09CR00096 -02


                                                                          KYLE KNAPP, ESQ.
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      admitted guilt to violation of charge 4 as alleged in the violation petition filed on 4/24/2014 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

Violation Number                     Nature of Violation               Date Violation Occurred
4                                    FAILURE TO REPORT LAW ENFORCEMENT 1/12/2014
                                     CONTACT WITH IN 72 HOURS.




The court: [U] revoke supervision heretofore ordered on 6/29/2010.

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charges 1, 2, and 3 are dismissed upon motion of the U.S. Attorney.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                 9/1/2015
                                                                 Date of Imposition of Sentence

                                                                 /s/ John A. Mendez
                                                                 Signature of Judicial Officer

                                                                 JOHN A. MENDEZ, United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 9/9/2015
                                                                 Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:09CR00096 -02                                                                Judgment - Page 2 of 2
DEFENDANT:                JOSEPH SILVA


                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of Time Served .



[U]     No TSR: Defendant shall cooperate in the collection of DNA.

[]      The court makes the following recommendations to the Bureau of Prisons:



[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , w ith a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
